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 7

 8                                         UNITED STATES DISTRICT COURT

 9                                      NORTHERN DISTRICT OF CALIFORNIA

10                                                SAN FRANCISCO DIVISION

11

12   BOARD OF TRUSTEES OF THE                                 Case No.: 3:24-cv-01699-VC
     LABORERS HEALTH AND WELFARE
13   TRUST FUND FOR NORTHERN                                  JOINT CASE MANAGEMENT
     CALIFORNIA; BOARD OF TRUSTEES OF                         STATEMENT
14
     THE LABORERS VACATION-HOLIDAY
15   TRUST FUND FOR NORTHERN
     CALIFORNIA; BOARD OF TRUSTEES OF                         DATE: May 2, 2025
16   THE LABORERS PENSION TRUST FUND                          TIME: 10:00 a.m.
     FOR NORTHERN CALIFORNIA; and                             CTRM: 4
17   BOARD OF TRUSTEES OF THE                                 JUDGE: Hon. Vince Chhabria
     LABORERS TRAINING AND RETRAINING
18
     TRUST FUND FOR NORTHERN                                  VIA ZOOM WEBINAR
19   CALIFORNIA,

20                                  Plaintiffs,
21             vs.
22
     HILLSIDE DRILLING, INC., a California
23   corporation,

24                                  Defendant.
25

26            Plaintiffs BOARD OF TRUSTEES OF THE LABORERS HEALTH AND WELFARE
27   TRUST FUND FOR NORTHERN CALIFORNIA; BOARD OF TRUSTEES OF THE
28   LABORERS VACATION-HOLIDAY TRUST FUND FOR NORTHERN CALIFORNIA;


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 1   BOARD OF TRUSTEES OF THE LABORERS PENSION TRUST FUND FOR NORTHERN
 2   CALIFORNIA; and BOARD OF TRUSTEES OF THE LABORERS TRAINING AND
 3   RETRAINING TRUST FUND FOR NORTHERN CALIFORNIA (“Plaintiffs” or “Trust Funds”)
 4   and Defendant HILLSIDE DRILLING, INC. (“Hillside Drilling”) submit this Joint Case
 5   Management Statement.
 6            1.        JURISDICTION AND SERVICE
 7                      Plaintiffs filed this lawsuit on March 19, 2024, to collect outstanding employee
 8   fringe benefit contributions due to plaintiffs Trust Funds based upon covered work performed by
 9   member Dalton Levin, from May 2020 through July 2021. [Dkt. 1]. Defendant Hillside Drilling
10   was served on April 28, 2024. [Dkt. 12]. Defendant did not respond within 21 days of service of
11   the complaint. Plaintiffs therefore requested that the Clerk enter default against Hillside Drilling.
12   The Clerk entered default on June 14, 2024. [Dkt. 15].
13                      Plaintiffs stipulated to set aside the entry of default on June 20, 2024. [Dkt. 18].
14                      This Court has jurisdiction of the action under and pursuant to the provisions of
15   29 U.S.C. §185 (§ 301 of the Labor Management Relations Act of 1947, as amended); 29 U.S.C.
16   §§1132(a)(3); 1132(e)(1); 1132(g)(2); and 1145 (§§502(a)(3); 502(e)(1); 502(g)(2); and 515 of
17   the Employee Retirement Income Security Act of 1974, as amended) (“ERISA”). There are no
18   issues regarding service of the complaint.
19            2.        BACKGROUND FACTS
20                      a.          Plaintiffs Laborers Trust Funds
21                                  Plaintiffs Trust Funds are trust funds organized under and pursuant to the
22   provisions of §§302(c)(5) and 302(c)(6) of the Labor Management Relations Act of 1947, as
23   amended, 29 U.S.C. §§186(c)(5) and 186(c)(6). The Trust Funds were established through
24   collective bargaining agreements between the Northern California District Council of Laborers
25   and employer associations representing construction industry employers doing business in
26   Northern California. The Trust Funds are employee benefit plans created by written trust
27   agreements subject to and pursuant to §§3(3) and 3(37) of ERISA, 29 U.S.C. §§1002(3) and (37).
28   The Boards of Trustees, as fiduciaries, are the plaintiffs, who sue on behalf of the Trust Funds.



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 1                      b.          Defendant Hillside Drilling, Inc.
 2                                  On or about September 10, 1996, Hillside Drilling executed a
 3   Memorandum Agreement with the Northern California District Council of Laborers
 4   (“Memorandum Agreement”). By virtue of executing the Memorandum Agreement, Hillside
 5   Drilling became bound to a written collective bargaining agreement with the Northern California
 6   District Council of Laborers (“Laborers Union”) entitled the Laborers’ Master Agreement for
 7   Northern California (“Master Agreement”). In agreeing to be bound to the Master Agreement,
 8   Hillside Drilling further agreed to be subject to and bound by all provisions and conditions of the
 9   written Trust Agreements which established the Trust Funds. Pursuant to the provisions of the
10   Master Agreement, Hillside Drilling agreed to be bound by all terms relating to wages, hours and
11   conditions of employment prescribed therein with the Laborers Union.
12                                  By virtue of the Master Agreement and written trust agreements, Hillside
13   Drilling promised and agreed that (1) it would pay employee fringe benefit contributions into
14   each Trust Fund in regular monthly installments commencing on or before the 15th day of the
15   month immediately succeeding the month in which the employee’s work was performed; (2) that
16   in the event that any of said monthly installments were not paid in full on or before the 25th day
17   of the month in which such contributions became due, it would pay interest on the delinquent
18   contribution in the amount of 1.5% per month until paid in full, and would also pay the amount of
19   $150 for each delinquent contribution as liquidated damages, and not as a penalty; and (3) that if
20   any suit with respect to any of said contributions or payments were filed against them, it would
21   pay into said Trust Funds the attorneys’ fees, costs and all other expenses incurred in connection
22   with such suit.
23                                  The Master Agreement between the Laborers Union and Hillside Drilling
24   has never been terminated. By virtue of the Master Agreement and Trust Agreements, defendant
25   further promised and agreed that it would permit an auditor assigned by the Trust Funds to enter
26   upon Hillside Drilling’s business premises during business hours, at a reasonable time or times,
27   not less than two (2) working days after such request, to examine and copy its books and records,
28



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 1   papers or reports as may be necessary to determine whether defendant is making full and prompt
 2   payment of all sums due to be paid to the Trust Funds.
 3                                  On or about April 24, 2020, Hillside Drilling and Northern California
 4   Laborers Joint Apprenticeship Training Committee entered into the CCL APPRENTICE
 5   SPONSORSHIP AGREEMENT (the “CCL”). Dalton Levin was hired by Hillside Drilling on
 6   April 24, 2020 as an approved apprentice via Local 185 under the CCL at the sixty-five percent
 7   rate for sponsored apprentices. Thereafter, Dalton Levin Submitted documents to the Northern
 8   California Joint Apprenticeship Committee relating to his prior construction experience. On May
 9   27, 2020, Dalton Levin received a letter from the Northern California Joint Apprenticeship
10   Training Center honoring documents he submitted to the Committee as proof of previous
11   construction experience.
12                                  Plaintiffs allege that Hillside Drilling incorrectly reported hours worked by
13   member Dalton Levin, from May 2020 through July 2021, as having been performed at the
14   Apprentice 1 classification. Plaintiffs contend that this is in error, as Mr. Levin was moved to the
15   Apprentice 2 classification on April 24, 2020. Consequently, Plaintiffs allege that Hillside
16   Drilling failed to report and pay contributions for the period May 2020 through July 2021,
17   inclusive, in the principal amount of $38,678.31 and consequently, also owe interest and
18   liquidated damages in the amount of $23,643.10 (as of February 6, 2024) based on the not
19   reported, not paid hours of covered work performed by Dalton Levine during the period
20   May 2020 through July 2021, according to proof at trial.
21                                  An audit was conducted by the Trust Funds covering the period beginning
22   June 2022 to June 2024 which reveals that Hillside Drilling failed to report contributions in the
23   amount of $51,480.72 to the Trust Funds owed based upon work performed by its employees
24   under the Master Agreement, and thus owes the unreported, unpaid contributions in the amount
25   of $51,480.72 and liquidated damages (interest ) in the amount of $13,291.96. Demand was
26   made for such amounts.
27

28



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 1                                  In response, Defendant provided documentation disputing the audit results.
 2   The Laborers reviewed the documentation, made adjustments based upon the documentation
 3   provided and demanded payment of the adjusted audit liability in the amount of $59,538.57.
 4                                  The Defendant submitted further documentation consisting of Employer
 5   Reports of Contributions made to the Southern California Laborers contesting the adjusted audit
 6   liability, including documentation based upon which contending that the Defendant did not give
 7   credit for 664 hours of work performed by its employees in Morro Bay for which contributions
 8   were paid to the Southern California Laborers. The Trust Funds further adjusted the audit
 9   liability based upon the documentation provided and demand then payment of the final adjusted
10   amount of $44,269.75. The Laborers informed Defendant that no credit was proper for the 664
11   hours of work performed by its employees in Morro Bay because Morro Bay is within the
12   jurisdiction of the District Council for the Northern District of California
13                                  In response to the final demand for the adjusted audit liability in the
14   amount of $44,269.75, the Defendant requested a credit for 400 hours included and paid pursuant
15   to a prior audit by the Trust Funds of Defendant contending that those 400 hours were for hours
16   for which the Defendant paid contributions to the Southern California Laborers.
17                                  The Trust Funds confirmed that the prior audit was closed, the liability was
18   paid and that pursuant to the Refund Policy no credit would be provided to the Defendant for the
19   400 hours the Defendant contends were paid to the Southern California Laborers. A copy of the
20   Refund policy and final demand for payment of the adjusted audit liability was sent to the
21   Defendant.
22                                  Defendant failed to pay the adjusted amount owed and maintains that it
23   entitled to a credits for hours for which it made contributions to the Southern California Laborers
24   which were included in the audit.
25                      c.          Claims for Relief
26                                  i.     Pursuant to the First Claim for Relief for Breach of Contract of
27                                         Collective Bargaining Agreement, Plaintiffs allege Hillside Drilling
28                                         has materially breached the aforesaid Master Agreement and Trust



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 1                                         Agreements by failing to pay all employee fringe benefit
 2                                         contributions owed to the Trust Funds under the terms and
 3                                         conditions of the Master Agreement and Trust Agreements.
 4                                         Plaintiffs seek damages and their attorneys’ fees in relation to the
 5                                         breach according to proof.
 6                                  ii.    Pursuant to the Second Claim for Relief Plaintiffs the unpaid
 7                                         contributions owed based upon covered work performed by Dalton
 8                                         Levine and related, liquidated damages, interest and the attorneys’
 9                                         fees associated with collection of such amounts under ERISA,
10                                         §502(g)(2), 29 U.S.C. §1132(g)(2).
11                                  iii.   Pursuant to the Third Claim for Relief Plaintiffs seek the records
12                                         needed to complete their payroll inspection of Hillside Drilling’s
13                                         books and records to determine if Hillside Drilling complied with
14                                         the reporting and payment obligations under its collective
15                                         bargaining agreement with the laborers union.
16            3.        Legal Issues
17                      On or about September 10, 1996, Hillside Drilling executed a Memorandum of
18   Agreement with the Northern California District Council of Laborers. By virtue of its execution
19   of the Agreement, Defendant became bound to a written collective bargaining agreement with the
20   Northern California District Council of Laborers (“Laborers Union”) entitled the Laborers’
21   Master Agreement for Northern California (“Master Agreement”). In agreeing to be bound by
22   the Master Agreement, Defendant agreed to be subject to and bound by all provisions and
23   conditions of the written Trust Agreements which established the Trust Funds. Pursuant to the
24   provisions of the Master Agreement, Defendant agreed to be bound by all terms relating to
25   wages, hours, and conditions of employment prescribed therein with the Laborers Union.
26   ///
27   ///
28   ///



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 1                      By virtue of the Master Agreement and written trust agreements, defendant
 2   promised and agreed that (1) it would pay employee fringe benefit contributions into each Trust
 3   Fund in regular monthly installments, commencing on or before the 15th day of the month
 4   immediately succeeding the month in which the employee’s work was performed; (2) that in the
 5   event that any said monthly installments were not paid in full on or before the 25th day of the
 6   month in which such contributions became due, it would pay interest on the delinquent
 7   contribution in the amount of 1.5% per month until paid in full, and would also pay the amount of
 8   $150 for each delinquent contribution as liquidated damages, and not as a penalty; and (3) that if
 9   any suit with respect to any of said contributions or payments were filed against it, it would pay
10   into said Trust Funds the attorneys’ fees, costs, and all other expenses, incurred in connection
11   with such suit. The Master Agreement between the Laborers Union and Hillside Drilling has
12   never been terminated.
13                      On April 24, 2020, Hillside Drilling and Northern California Laborers Joint
14   Apprenticeship Training Committee entered into the CCL APPRENTICE SPONSORSHIP
15   AGREEMENT (the “CCL”). Dalton Levin was hired by Hillside Drilling on April 24, 2020 as
16   an approved apprentice via Local 185 under the CCL at the sixty-five percent rate for sponsored
17   apprentices. Thereafter, Dalton Levin Submitted documents to the Northern California Joint
18   Apprenticeship Committee relating to his prior construction experience. On May 27, 2020,
19   Dalton Levin received a letter from the Northern California Joint Apprenticeship Training Center
20   honoring documents he submitted to the Committee as proof of previous construction experience.
21                      Plaintiffs contend that Hillside Drilling incorrectly reported hours worked by
22   member Dalton Levin, from May 2020 through July 2021, as having been performed at the
23   Apprentice 1 classification. Plaintiffs assert that this is in error, as Mr. Levin was moved to the
24   Apprentice 2 classification on April 24, 2020. Consequently, Plaintiffs contend that Hillside
25   Drilling breached the collective bargaining agreement when it failed to report and pay
26   contributions for the period May 2020 through July 2021, inclusive, in the principal amount of
27   $38,678.31, and that Plaintiffs are entitled to such amounts under §502(g) of ERISA along with
28   liquidated damages in the amount of $23,643.10 (as of February 6, 2024) based on the not



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 1   reported, not paid hours of covered work performed by Dalton Levine during the period
 2   May 2020 through July 2021, according to proof at trial. Plaintiffs also contend that Defendant
 3   breached the collective bargaining agreement by failing to pay the hours of contributions owed
 4   for covered work revealed as owed by the audit of Hillside Drilling’s books and records for the
 5   period June 2022 to the last quarter for which the amount of $44,269.75, and that Plaintiffs are
 6   entitled to such amounts under §502(g) of ERISA.
 7            4.        Motions
 8                      Plaintiffs intend to file a motion for summary judgment.
 9            5.        Amendment Of Pleadings
10                      Plaintiffs do not contemplate amending the pleadings.
11            6.        Evidence Preservation
12                      Plaintiffs reviewed the Guidelines Relating to Discovery of Electronically Stored
13   Information (“ESI Guidelines”). While Plaintiffs do not anticipate discovery related to ESI,
14   Plaintiffs will continue to try and meet and confer with defendant’s counsel pursuant to Fed. R.
15   Civ. P. 26(f) regarding reasonable and proportionate steps taken to preserve evidence which may
16   be relevant to the issues reasonably evident in this action.
17            7.        Disclosures
18                      Plaintiffs and defendant previously agreed to exchange their respective initial
19   disclosures fourteen (14) days after the parties’ Rule 26(f) conference scheduled for September
20   20, 2024. However, those disclosures were not made to date as the Parties were focused on the
21   completing the audit. The parties agree to exchange their initial disclosures fourteen (14) days
22   after the conference set for May 2, 2025.
23            8.        Discovery
24                      The parties have not yet undertaken any formal discovery. Plaintiffs and
25   defendant agree to the following proposed discovery plan pursuant to Fed. R. Civ. Proc. 26(f)(3):
26                      a.          The parties are not requesting any change to the form or requirements for
27   disclosures under Rule 26(a).
28   ///



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 1                      b.          The parties anticipate discovery may be needed on the following subjects:
 2   Hillside Drilling’s obligations under the Master Agreement and Trust Agreements and alleged
 3   contributions due. The parties anticipate discovery can be completed by the end of March 2025;
 4                      c.          The parties presently are not aware of any issues regarding disclosure or
 5   discovery of electronically stored information;
 6                      d.          The parties presently are not aware of any issues regarding privilege;
 7                      e.          The parties are not requesting any changes in the limitations on discovery;
 8   and
 9                      f.          The parties are not requesting any orders under Rule 26(c) (protective
10   orders), Rule 16(b) and (c) (pretrial conferences/scheduling/attendance).
11            9.        Class Actions
12                      This is not a class action lawsuit.
13            10.       Related Cases
14                      There are no related cases.
15            11.       Relief
16                      Plaintiffs seek the following damages for Defendant’s breach of collective
17   bargaining agreement and trust agreements: (1) principal contributions in the amount of of
18   $38,678.31, according to proof at trial plus interest and liquidated damages in the amount of
19   $23,643.10 (as of February 6, 2024) based upon work performed by Dalton Levin; (2) the audit
20   liability in the amount of $44,269.75; and (3) their attorneys’ fees and costs.
21            12.       Settlement And ADR
22                      The Parties intend to engage in informal settlement negotiations and are amenable
23   to a referral to mediation.
24            13.       Consent To Magistrate Judge for All Purposes
25                      The parties do not consent to having a Magistrate Judge for all purposes.
26   ///
27   ///
28   ///



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 1            14.       Other References
 2                      This case is not suitable for binding arbitration, a special master, or Judicial Panel
 3   on Multidistrict Litigation.
 4            15.       Narrowing Of Issues
 5                      Plaintiffs believe that they may be able to narrow the issues by agreement, likely
 6   through a stipulated set of facts and exhibits, to expedite presentation of evidence at trial.
 7            16.       Expedited Trial Procedure
 8                      Plaintiffs are not yet able to make the determination as to whether this matter may
 9   be the type of case that can be handled under the Expedited Trial Procedure of General Order
10   No. 64, Attachment A.
11            17.       Scheduling
12                      Plaintiffs and defendant take the position that dates for summary judgment and
13   trial should be set by the Court.
14            18.       Trial
15                      Plaintiffs request a non-jury trial. Plaintiffs anticipate the length of trial will not
16   exceed two (2) days. Defendant also requests a non-jury trial and anticipates that the length of
17   trial will not exceed two (2) days.
18            19.       Disclosure Of Non-Party Interested Entities Of Persons
19                      Plaintiffs filed its Certificate of Interested Entities on April 5, 2024. [Dkt. 9].
20   Defendant has not filed its Certificate of Interested Entities.
21            20.       Professional Conduct
22                      Plaintiffs’ and Defendant’s counsel have reviewed the Guidelines for Professional
23   Conduct for the Northern District of California.
24   ///
25   ///
26   ///
27   ///
28   ///



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 1            21.       Other Matters
 2                      Plaintiffs and Defendant do not have any other matters to identify at this time.
 3   DATED: April 24, 2025
 4                                                    BULLIVANT HOUSER BAILEY PC
 5

 6                                                    By
                                                           Ronald L. Richman
 7
                                                           Tracy L. Mainguy
 8
                                                      Attorneys for Plaintiffs
 9

10   DATED: April 24, 2025
11                                                    SWANSON LAW OFFICE
12

13
                                                      By    /s/ Yue Zhao
14                                                         Yue Zhao

15                                                    Attorneys for Defendant
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